Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

 Criminal Case No. 19-cr-257-WJM

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 ERIC KING,

        Defendant.


                             ORDER ON MOTIONS IN LIMINE


        The Government charges Defendant Eric King with one count of assaulting or

 obstructing a federal official in violation of 18 U.S.C. § 111(a)(1), (b). (ECF No. 1.)

        Before the Court are: (1) Government’s Motion in Limine Regarding Conditions of

 Confinement (“Government’s MIL”) (ECF No. 118), to which Defendant filed a response

 (ECF No. 142); and (2) Defendant’s Motion in Limine (“Defendant’s MIL”) (ECF No.

 117), to which the Government filed a response (ECF No. 144).

        The Court presumes familiarity with the facts of the case, as well as the Court’s

 prior orders. For the reasons set forth below, the Government’s MIL is granted, and

 Defendant’s MIL is granted in part and denied in part.

                                  I. LEGAL STANDARDS

        “The admission or exclusion of evidence lies within the sound discretion of the

 trial court . . . .” Robinson v. Mo. Pac. R.R. Co., 16 F.3d 1083, 1086 (10th Cir. 1994);

 see also United States v. Golden, 671 F.2d 369, 371 (10th Cir. 1982) (“Trial judges
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 2 of 15




 have discretion to decide whether an adequate foundation has been laid for the

 admission of evidence.”).

        Under Federal Rule of Evidence 401, “[e]vidence is relevant if: (a) it has any

 tendency to make a fact more or less probable than it would without the evidence; and

 (b) the fact is of consequence in determining the action.” Relevant evidence is

 generally admissible and should only be excluded “if its probative value is substantially

 outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the

 jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R.

 Evid. 403. “Irrelevant evidence is not admissible.” Fed. R. Evid. 402.

        The movant “has the burden of demonstrating that the evidence is inadmissible

 on any relevant ground,” and a court “may deny a motion in limine when it lacks the

 necessary specificity with respect to the evidence to be excluded.” Pinon Sun Condo.

 Ass’n, Inc. v. Atain Specialty Ins. Co., 2020 WL 1452166, at *3 (D. Colo. Mar. 25, 2020)

 (quoting First Sav. Bank, F.S.B. v. U.S. Bancorp, 117 F. Supp. 2d, 1078, 1082 (D. Kan.

 2000)).

        Federal Rule of Evidence 404(b)(1) provides that “[e]vidence of any other crime,

 wrong, or act is not admissible to prove a person’s character in order to show that on a

 particular occasion the person acted in accordance with the character.” It may,

 however, be admissible for other purposes, such as “proving motive, opportunity, intent,

 preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” Fed. R.

 Evid. 404(b)(2). The Tenth Circuit “instructs courts to consider four factors in weighing

 the admissibility of evidence under Rule 404(b): (1) whether the evidence is offered for

 a proper purpose, (2) its relevancy, (3) that the probative value of the evidence is not




                                              2
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 3 of 15




 substantially outweighed by its prejudicial effect, and (4) a limiting instruction is given if

 the defendant so requests.” United States v. Mares, 441 F.3d 1152, 1156 (10th Cir.

 2006) (citing Huddleston v. United States, 485 U.S. 681, 691 (1988)).

                                         II. ANALYSIS

 A.     Government’s MIL

        The Government requests that the Court preclude evidence or arguments related

 to Defendant being placed in a “Stryker” chair, held in four-point restraints, and housed

 in the Special Housing Unit (“SHU”) following the alleged assault. (ECF No. 118 at 1.)

 Because this case concerns whether Defendant assaulted a federal officer and is not a

 civil case challenging conditions of confinement or impact litigation, the Government

 argues that evidence on these topics is irrelevant under Rule 402. Additionally, even if

 the Court determines the issues are relevant, the Government asserts that the evidence

 should nonetheless be precluded under Rule 403 because it will confuse issues,

 mislead the jury, and waste time, while proving nothing. (Id.)

        In response, Defendant states that “[t]he instant response to the government’s

 motion in limine [ECF 118] assumes arguendo that the Court will deny the Defendant’s

 Motion to Suppress the Statement on voluntariness grounds [ECF 114] and rule that the

 August 20, 2018 statement is admissible at trial for impeachment purposes. Should the

 Court grant the Motion to Suppress on voluntariness grounds this issue will be moot.”

 (ECF No. 142 at 2 n.1.)

        In the Court’s November 29, 2021 Order Granting in Part and Denying in Part

 Defendant’s Amended Motion to Suppress, the Court suppressed Defendant’s

 statements made on August 20, 2018. (ECF No. 176.) The Court concluded that the

 conditions of confinement Defendant endured between the alleged assault and


                                                3
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 4 of 15




 Defendant’s Miranda interview were so coercive that his will was overborne, rendering

 his statements involuntary. (Id. at 20.)

           Based on Defendant’s representation in his response that this issue is moot

 given the Court’s suppression of his August 20, 2018 statement, the Court grants the

 Government’s MIL. The Court precludes the parties from advancing any evidence or

 argument at trial regarding Defendant’s placement in a “Stryker” chair, the Federal

 Bureau of Prisons’ (“BOP”) use of four-point restraints, or Defendant’s confinement in

 the SHU in the days following the alleged assault on August 17, 2018.

 B.        Defendant’s MIL

           1.    Motion in Response to Government Rule 404(b) Notice

                 a.     Sentencing transcript from June 2016 sentencing

           The Government intends to introduce evidence of Defendant’s statements at his

 sentencing on his prior conviction in the Western District of Missouri, Case No. 14-cr-

 00286-01-CR-W-GAF. At sentencing, Defendant said the following, among other

 things:

                 I’m not sorry for what I did. I’m sorry that I got caught before
                 I could do more things. I would have loved to attack more
                 government buildings and make sure that bubble of safety
                 that prosecutors and FBI agents and judges feel got
                 shattered so that they stay in their safe pockets knowing
                 they can’t touch me even though there are consequences to
                 my actions.

 (ECF No. 144-1 at 2.)

           In Defendant’s MIL, he argues that this statement is “extraordinary [sic]

 prejudicial, fails to address the difference between property damage and harm to

 people, and is wholly irrelevant to the question here: whether or not [Defendant]

 assaulted Lieutenant (Lt.) Wilcox.” (ECF No. 117 at 2.)


                                                4
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 5 of 15




           The Government argues that this evidence is admissible to show Defendant’s

 motive and intent with respect to the charged assault because it shows that he

 possesses a deep-seated hatred for persons involved in the criminal justice system.

 (ECF No. 144-1 at 9.) See Fed. R. Evid. 404(b). Additionally, if Defendant chooses to

 testify, the Government argues that this evidence would be admissible to show his bias

 against the government and government agents. (ECF No. 144-1 at 9.)

           The Court has considered the four Huddleston factors. While the sentencing

 statement is offered for a proper purpose, the Court finds that its tangential relevance

 and extremely prejudicial content militate in favor of excluding this evidence. The Court

 agrees with Defendant that there is a significant difference between the property

 damage discussed in the sentencing statement and the alleged physical assault at

 issue in this case. Most importantly, the Court finds that the probative value of this

 evidence is substantially outweighed by its potential prejudicial effect on the jury.

 Therefore, the Court grants this portion of Defendant’s MIL.

                 b.     August 17, 2018 e-mail

           This portion of Defendant’s MIL concerns the e-mail Defendant sent to his

 partner on August 17, 2018 prior to the alleged assault. The parties agree that the e-

 mail should be admitted. Therefore, the Court denies this portion of Defendant’s MIL as

 moot. 1

                 c.     Interactions with Officer Gustafson

           The Government intends to introduce evidence that on May 8, 2020, after being



          Defendant states that he objects to conclusory characterizations of this e-mail or other
           1

 statements of his as “threats,” without legal foundation for doing so. (ECF No. 117 at 2.) The
 Court discusses this issue later in this Order.



                                                 5
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 6 of 15




 offered a shower by Correctional Officer Dustin Gustafson, Defendant replied, “I’m

 going to hurt you. You have a lot of bad things coming your way.” (ECF No. 144-1 at

 3.)

        In Defendant’s MIL, Defendant seeks “exclusion of all records related to [his]

 2020 [Discipline Hearing Officer (“DHO”)] proceedings regarding [his] alleged violations

 against Officer Gustafson at FCI Englewood, including events which took place on July

 21, 2020, May 8, 2020, and April 3, 2020.” (ECF No. 117 at 2.) Defendant states that

 these “violations include an allegation that in 2020, Defendant attempted to send Officer

 Gustafson’s address to a third-party via prison mail, at another time stated a verbal

 threat towards Gustafson (which Defendant denies), and flicked an ‘unknown

 substance’ (water) at Officer Gustafson.” (Id. at 2–3.) In Defendant’s MIL, he argues

 that this evidence is impermissible propensity evidence. (Id. at 3.) Further, he argues

 that verbal or written threats are “clearly not ‘similar’ to the charged crime[] of assault.”

 (Id. (quoting Mares, 441 F.3d at 1157 (“Where the uncharged acts show motive, intent,

 or knowledge, they are admissible whether the acts involved previous conduct or

 conduct subsequent to the charged offense, as long as the uncharged acts are similar

 to the charged crime and sufficiently close in time.” (internal quotation marks and

 citation omitted))).)

        As an initial matter, the Government points out that “[i]t is settled in the Tenth

 Circuit that evidence of ‘other crimes, wrongs, or acts’ may arise from conduct that

 occurs after the charged offense.” Mares, 441 F.3d at 1157. The Tenth Circuit’s “cases

 have held that ‘[r]egardless of whether 404(b) evidence is of a prior or subsequent act,

 its admissibility involves a case-specific inquiry that is within the district court’s broad




                                                6
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 7 of 15




 discretion.’” Id. (quoting United States v. Olivo, 80 F.3d 1466, 1469 (10th Cir. 1996)).

        As such, the Government states that this evidence is admissible to show

 Defendant’s intent and motive with respect to the charged assault, as it shows his

 hatred and hostility toward correctional officers. (ECF No. 144 at 2–3.) See Fed. R.

 Evid. 404(b)(2). Additionally, should Defendant choose to testify, the Government

 contends that this evidence would be admissible to show his bias against correctional

 officers; it would also constitute “[e]vidence of Defendant’s hatred of these entities,”

 which is “probative of his willingness to testify falsely to portray these entities in the

 most negative possible light.” (ECF No. 144 at 3.)

        The Court has considered the Huddleston factors and finds that this evidence is

 offered for a proper purpose and is relevant. As above, the question turns on whether

 the probative value of the evidence is substantially outweighed by its prejudicial effect.

 The Court has considered the non-exclusive factors in assessing similarity outlined in

 Mares, which include: (1) whether the acts occurred closely in time; (2) geographical

 proximity; (3) whether the charged offense and the other acts share similar physical

 elements; and (4) whether the charged offense and the other acts are part of a common

 scheme. See Mares, 441 F.3d at 1158.

        First, the acts occurred within two years of each other, which the Court

 determines is sufficiently close in time. The second factor considers geographical

 proximity, which the Court finds irrelevant here, as Defendant has no control over where

 he is incarcerated. 2

        The Court considers the third and fourth factors together and concludes that the

        2
          The Court notes, however, that the fact that both sets of incidents occurred at
 correctional facilities tends to show geographical proximity, in some sense.



                                                 7
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 8 of 15




 charged offense of assault on a correctional officer and Defendant’s aforementioned

 interactions with Officer Gustafson are similar enough to pass muster. Unlike the

 events underlying Defendant’s 2016 conviction, which concern property damage, his

 alleged assault on Lieutenant Wilcox is a physical action against a correctional officer.

 Similarly, Defendant’s actions of sending Officer Gustafson’s address to a third-party

 may reflect an intent to intimidate or physically harm Officer Gustafson at home. His

 verbal threats that he is going to “hurt” Officer Gustafson are similar, though not

 identical, to his alleged physical assault on Lieutenant Wilcox, as both implicate physical

 harm. Finally, flicking an unknown substance on a correctional officer also indicates an

 intent to physically harm, as Officer Gustafson may not have known the substance was

 merely water at the time of the incident.

        In sum, all of these interactions with Officer Gustafson share the characteristics

 of intent to physically harm a correctional officer, as does the charge in this case.

 Therefore, the Court finds that these interactions are sufficiently similar, and that their

 probative value is not substantially outweighed by any potential prejudicial effect.

        Therefore, the Court denies this portion of Defendant’s MIL.

        2.     Motion to Exclude Prior Bad Acts

        Defendant seeks to exclude: (1) all records and evidence related to his previous

 DHO proceedings; and (2) Defendant’s prior negative interactions with certain

 Government witnesses which occurred during his imprisonment at Florence. (ECF No.

 117 at 4–5.) Regarding the DHO proceedings, he argues this evidence should be

 excluded because it is highly prejudicial and has little or no probative value; as such, he

 argues that admission of this evidence would violate Rule 404(b). (Id.) Regarding




                                               8
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 9 of 15




 Defendant’s prior interactions with certain witnesses, 3 he requests that the Court issue

 an order specifying which, if any, other bad act evidence may be adduced at trial, and

 forbidding the government or its witnesses from introducing irrelevant and inadmissible

 character and propensity evidence. (Id. at 5.)

        In response, the Government states that at this juncture, it does not intend to

 introduce evidence regarding any disciplinary proceedings related to a 2017 occurrence

 in Englewood. (ECF No. 144 at 3.) Additionally, the Government states that it does not

 intend to use Defendant’s statements at the January 2019 disciplinary proceeding at

 USP Leavenworth unless Defendant testifies at trial; then the Government might use

 those statements for impeachment and cross-examination purposes. (Id.) Finally, the

 Government states that it does not otherwise intend to introduce evidence of BOP

 disciplinary proceedings unless Defendant opens the door. (Id.)

        Given that the Government only intends to introduce evidence of other prior bad

 acts or disciplinary proceedings if Defendant first opens the door at trial, the Court will

 deny without prejudice this portion of Defendant’s MIL at this time. Defendant is free to

 raise this objection at trial, if appropriate.

        3.      Motion to Exclude Testimony From/Regarding Lieutenant Wilcox

                a.      Exclude government witnesses from referring to Wilcox as “victim”

        Defendant requests that the Court preclude the Government from using the word

 “victim” to describe Lieutenant Wilcox. (ECF No. 117 at 5.) The Government states

 that it does not intend to describe Lieutenant Wilcox as a “victim.” (ECF No. 144 at 5.)

        3
          Such interactions include observations regarding Defendant’s partner being
 argumentative, their children being playful at visitation, Defendant submitting false complaints (it
 is unclear to whom), and Defendant’s rule compliance during family visitation. (ECF No. 117 at
 5.)



                                                  9
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 10 of 15




         Based on the Government’s representation, the Court denies this portion of

 Defendant’s MIL as moot.

               b.     Exclude improper opinion testimony

                      (i)     Testimony regarding injuries

         Defendant seeks to exclude testimony from Lieutenant Wilcox that his knuckle

 injury was the result of “grappling” rather than the result of a “punch.” (ECF No. 117 at

 7.) According to Defendant, such testimony would be self-serving speculation regarding

 the origin of injury and is not corroborated by or reflected in any medical opinion or

 documents regarding Lieutenant Wilcox in the discovery provided by the Government.

 (Id.)

         In response, the Government argues that Lieutenant Wilcox should be permitted

 to testify about his observations as to his finger injury as a lay witness under Federal

 Rule of Evidence 701. (ECF No. 144 at 4.) Here, the Government argues that

 Lieutenant Wilcox will merely testify as to his observation, based on prior experience,

 that his finger injury appeared to be the result of a “grappling” motion as opposed to

 throwing a punch. (Id.) According to the Government, this testimony is based on

 Lieutenant Wilcox’s perception, will be helpful to the jury in understanding his testimony

 about what occurred on August 17, 2018, including the injuries he suffered, and is not

 technical or specialized such that he would need to be tendered as an expert witness.

 See Fed. R. Evid. 701. Indeed, the Government states that such testimony is not even

 really an “opinion,” but is rather nothing more than an observation that his injury was

 similar to certain other injuries he received in the past.

         The Court will grant in part and deny in part Defendant’s MIL on this issue. The

 motion is denied to the extent that the Court will permit Lieutenant Wilcox to testify as to


                                              10
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 11 of 15




 his observations about his finger injury and the altercation with Defendant. However,

 the motion is granted to the extent that Lieutenant Wilcox is prohibited from giving his

 opinion as to whether his finger injury was or was not the result of a closed-fist punch.

 Additionally, Lieutenant Wilcox is prohibited from offering testimony akin to an expert

 medical opinion that opines as to the cause of his injury.

                      (ii)   Prisoner mental health

        Defendant requests that the Court preclude Lieutenant Wilcox from speculating

 or offering an opinion regarding prisoner mental health or specifically Defendant’s

 behavior as being consistent with any type of mental health problems or diagnosis.

 (ECF No. 117 at 7.) The Government states that it does not intend to elicit from

 Lieutenant Wilcox any opinions regarding prisoner mental health. (ECF No. 144 at 3.)

        Based on the Government’s representation, the Court denies this portion of

 Defendant’s MIL as moot.

        4.     Motion to Preclude Government from Offering Legal Conclusion That
               Defendant Engaged in “Threat” or “Assault”

        Defendant sent his partner an e-mail on August 17, 2018, which stated in

 pertinent part:

               So you want to hear great news?! A newer Paisa ROCKED
               A LT!! That’s why we were locked down for a little bit lolol!
               One for the home team! I hope that the weight of every
               prisoner who has been disrespected, felt belittled, felt less
               than human by any guard or Lt ever was behind that punch.
               Wish I would have gotten to see it or experience it via VR.
               This is a win for every prisoner ever. Hard to stop smiling
               thinking about it.

 (ECF No. 120-3.) While Defendant agrees that the e-mail prompted the interview

 underlying the allegations in the Indictment, he points out that he is not charged with

 threats, nor is there any indication that the e-mail contained a threat. (ECF No. 117 at


                                             11
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 12 of 15




 8.) Therefore, Defendant requests that the Court preclude the Government or its

 witnesses from characterizing the e-mail or other verbal statements as “threats” or

 “threatening.” (Id.) He contends that allowing the use of these words mischaracterizes

 the evidence and permits a legal conclusion. (Id.) He cites no legal authority in support

 of this portion of the argument beyond a Tenth Circuit case defining “threat.”

        Additionally, Defendant states that witnesses and disciplinary records repeatedly

 refer to him committing assault, which he states is a legal conclusion. (Id.) Because

 whether an assault against Lieutenant Wilcox occurred is the “very heart of this case,”

 Defendant argues that the Government’s witnesses should not be permitted to testify

 that Defendant had “a history of assaulting staff,” “assaulted Wilcox,” or draw legal

 conclusions that specific acts were assaults when the word assault is itself the issue the

 jury will determine in this case. He cites no legal authority in support of this argument.

        In response, the Government argues that Defendant’s request is overbroad and

 will unfairly prejudice the Government. (ECF No. 144 at 4.) The Government states

 that the word “threat” is a word in common usage in the English language to describe

 “an expression of intention to inflict. . . injury” or “an indication of something impending.”

 (Id.) See, e.g., United States v. Christy, 2019 WL 6048951, at *2 (M.D. Pa. Nov. 14,

 2019) (“The Court declines to make an all encompassing ruling as to the whether

 Government’s counsel may use the word “threat,” divorced from the circumstances

 where any actually-uttered question is being challenged.”). Similarly, the word “assault”

 is also in common usage and is part of the title of the charge in the indictment:

 “assaulting a federal officer.” (ECF No. 144 at 5.)

        If the Court were to prohibit the Government and its witnesses from using these




                                               12
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 13 of 15




 words to describe the altercation on August 17, 2018, the Government argues that such

 a ruling would “require government witnesses to engage in unnecessary verbal

 gymnastics.” (Id.) Further, the Government underscores that the jury will be instructed

 on the legal definitions it must apply in this case.

        The Court has carefully considered whether the prejudicial effect of using the

 terms “threat” and “assault” at trial will outweigh the probative value of these terms; the

 Court concludes that it does not. Rather, the Court finds that in a trial in which the one

 charge in the indictment concerns whether Defendant “did forcibly assault, resist,

 oppose, impede, intimidate, and interfere with D.W., an employee and officer of the

 Federal Bureau of Prisons,” (ECF No. 1), to prohibit the use of the terms “threat” and

 “assault” would result in witnesses engaging in “unnecessary verbal gymnastics.” The

 Court also agrees with the Government’s statements that the words “threat” and

 “assault” are ones with which a jury will be very familiar, and the risk of jurors drawing a

 legal conclusion based on the use of such terms during trial is low. To the extent either

 party wishes the Court to include a limiting instruction to protect against such a

 possibility, the Court will permit the parties to propose such a limiting instruction.

        Therefore, the Court denies this portion of Defendant’s MIL.

        5.     Motion to Preclude the Government from Offering Testimony That
               Defendant Is a “Terrorist”

        Defendant requests that the Court preclude the Government or witnesses from

 using the word “terrorist” to describe him. (ECF No. 117 at 8.) The Government

 responds that it does not intend to describe Defendant as a “terrorist” at trial. (ECF No.

 144 at 5.)

        Based on the representation of the Government, the Court denies this portion of



                                               13
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 14 of 15




 Defendant’s MIL as moot. However, given the potentially extreme prejudice to

 Defendant if the term “terrorist” is used at trial, the Court cautions the Government to

 instruct its witnesses that under no circumstances should they refer to Defendant as a

 “terrorist” in the course of their testimony at trial.

        6.      Motion to Exclude Testimony or Evidence Regarding the Facts or
                Circumstances of Defendant’s Underlying Offense Under 18 U.S.C. §
                844(H)

        Defendant does not dispute that if he testifies at trial, the Government may

 introduce evidence to establish his status as a felon under Federal Rule of Evidence

 609. (ECF No. 117 at 9.) Further, he is willing to stipulate that he is a felon and was

 imprisoned on the date of the offense for a felony. (Id.) However, he requests that the

 Court exclude evidence of “the actual facts of [his] underlying crime of conviction . . . .”

 (Id.) The Government states that it does not intend to offer evidence of the facts of

 Defendant’s underlying conviction for which he is currently serving a prison sentence

 unless Defendant opens the door to such testimony. (ECF No. 144 at 5.)

        Based on the Government’s representation, the Court denies this portion of

 Defendant’s MIL as moot.

                                        III. CONCLUSION

        For the reasons stated above, the Court ORDERS that:

 1.     The Government’s MIL (ECF No. 118) is GRANTED;

 2.     Defendant’s MIL (ECF No. 117) is GRANTED IN PART AND DENIED IN PART,

 as set forth above; and

 3.     The Court has denied or denied in part Defendant’s MIL as to four categories of

 evidence, including interactions with Officer Gustafson, evidence of Defendant’s prior

 bad acts, Lieutenant Wilcox’s testimony regarding his finger injury, and the use of the


                                                 14
Case 1:19-cr-00257-WJM Document 187 Filed 01/26/22 USDC Colorado Page 15 of 15




 terms “threat” and “assault” at trial. The Court DIRECTS the parties to confer and

 submit joint proposed limiting instructions on these categories of evidence by February

 18, 2022. If the parties cannot agree on such instructions, they may submit their own

 separate proposed instructions. At the time of trial the Court will decide which, if any, of

 these instructions will be submitted to the jury.


        Dated this 26th day of January, 2022.

                                                     BY THE COURT:



                                                     ______________________
                                                     William J. Martinez
                                                     United States District Judge




                                              15
